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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 RYAN HAMMONS, et al.,

                        Plaintiffs,

 v.                                                     Civil Action No. 1:19-cv-02518 (ACR)

 ISLAMIC REPUBLIC OF IRAN,

                        Defendant.


 NOREE KAMKONGKAEO, et al.,

                        Plaintiffs,

 v.                                                     Civil Action No. 1:20-cv-01058 (ACR)

 ISLAMIC REPUBLIC OF IRAN,

                        Defendant.


                         MEMORANDUM OPINION AND ORDER

       Plaintiffs in these consolidated cases are thirteen individuals injured in a 2016 terrorist

bombing at Camp Sullivan in Kabul, Afghanistan (“Camp Sullivan Resident Plaintiffs”), as well

as thirty-three of their immediate relatives (“Immediate Family Plaintiffs”). Plaintiffs sued the

Islamic Republic of Iran (“Iran”) under the Foreign Sovereign Immunities Act (“FSIA” or

“Act”), 28 U.S.C. §§ 1330, 1602-1611. They allege that Iran is liable for damages Plaintiffs

suffered because of the bombing because it provided explosive materials, financial support, safe




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harbor, and training to the Taliban, the terrorist organization that carried out the attack. Dkt. 1 at

6-7;1 Case No. 1:20-cv-01058 (ACR), Dkt. 1 at 2-3.

       After Iran failed to answer Plaintiffs’ Complaints or otherwise appear in these actions,

Plaintiffs moved for default judgment as to liability. Dkts. 18 and 23. The Court referred the

motions to Magistrate Judge Robin M. Meriweather for a Report and Recommendation. Minute

Order of July 16, 2020; Case No. 1:20-cv-01058 (ACR), Dkt. 16. On July 24, 2023, Judge

Meriweather recommended that the Court grant the motions with respect to twelve of the Camp

Sullivan Resident Plaintiffs and nine of the Immediate Family Plaintiffs. Dkt. 28 at 58-59

(Report and Recommendation). She recommended that the Court deny the motions without

prejudice with respect to one Camp Sullivan Resident Plaintiff and twenty-four Immediate

Family Plaintiffs who, Judge Meriweather concluded, had not provided adequate briefing or

evidence to establish their entitlement to relief. Id. at 39, 49-50, 58-59. Plaintiffs2 have objected

to the recommended denial of the motions with respect to twenty-three of the Immediate Family

Plaintiffs. Dkt. 30 (Objection). Iran has filed no objections and has not otherwise appeared in

these actions.

       Upon consideration of the Report and Recommendation, the Objection, the applicable

law, and the entire record, the Court overrules the Objection and adopts the Report and

Recommendation in its entirety. Plaintiffs’ default judgment motions are GRANTED IN PART




1
 Unless otherwise noted, citations to docket entries refer to filings in case number 1:19-cv-
02518 (ACR).
2
  While the default judgment motions were pending, Plaintiffs’ counsel lost contact with and
withdrew from representing Plaintiffs Jennifer and Robert Hernandez. Dkt. 21; Minute Order of
June 22, 2022. As a result, the Hernandezes have not participated in filings made after the
default judgment motions, including Plaintiffs’ Objection. See, e.g., Dkt. 30 at 1 n.1. References
to actions taken by “Plaintiffs” after that time do not include the Hernandezes.
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and DENIED IN PART without prejudice. The Court will appoint a special master to determine

the appropriate damages awards for those Plaintiffs with respect to whom the motions are

granted.

                                       I. BACKGROUND

       A.      The FSIA

       The FSIA is “the sole basis for obtaining jurisdiction over a foreign state in [U.S.]

courts.” Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 434 (1989). The

Act provides that foreign states ordinarily enjoy sovereign immunity from suits in U.S. courts,

see 28 U.S.C. § 1604, but also establishes several exceptions to that rule, see, e.g., id. §§ 1605-

1605B. One of these—the “state-sponsored terrorism exception”—strips foreign states of

sovereign immunity against, and grants federal courts subject matter jurisdiction to hear, certain

claims “against countries who have . . . supported specified acts of terrorism and who are

designated by the State Department as state sponsors of terror.” Opati v. Republic of Sudan, 140

S. Ct. 1601, 1605 (2020); see 28 U.S.C. §§ 1330(a), 1605A(a)(1). The Act also creates a federal

cause of action allowing certain categories of plaintiffs, including U.S. nationals, to seek money

damages from foreign states for “personal injury or death” arising from acts of terrorism covered

by the Act’s jurisdictional provisions. 28 U.S.C. § 1605A(c); see Opati, 140 S. Ct. at 1606.

Plaintiffs who are not eligible to pursue this cause of action—such as most non-U.S. nationals—

can still invoke the FSIA’s waiver of sovereign immunity and grant of subject matter jurisdiction

but must rely on state-law causes of action. See Owens v. Republic of Sudan, 924 F.3d 1256,

1258 (D.C. Cir. 2019).




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       B.      The Camp Sullivan Attack

       Camp Sullivan was a residential complex near Kabul International Airport in Afghanistan

that, as of January 2016, housed U.S. embassy personnel and private civilian contractors. Dkt.

28 at 7. On January 4, 2016, a truck carrying more than three thousand pounds of explosives

exploded outside Camp Sullivan, damaging the compound. Dkt. 19-6 at 3; Dkt. 28 at 7. Among

those injured in the blast were the Camp Sullivan Resident Plaintiffs—Andrew Babbitt; Bradley

Busby; Ryan Buytenhuys; Allen Cox; David Evans; Ryan Hammons; William Harris; Robert

Hernandez; Brandon Jones; Aaron Money; Robert Nadeau II; Derek Pleiman; and Dale Smith,

Jr.—who, at the time of the bombing, lived in Camp Sullivan or a neighboring residential

complex while working as private contractors for the U.S. government. Dkt. 28 at 7-8; see, e.g.,

Dkt. 22-2 at 1. The explosion also killed at least two Afghan civilians. Dkt. 26-1 at 1. The

Taliban claimed responsibility for the attack. Dkt. 19-1 at 4-5.

       C.      Plaintiffs’ Lawsuits

       The Camp Sullivan Resident Plaintiffs and thirty-one of the Immediate Family Plaintiffs

(collectively, the “Hammons Plaintiffs”) filed the first Complaint in these consolidated cases on

August 20, 2019.3 Dkt. 1. The Camp Sullivan Resident Plaintiffs seek damages for both

physical and emotional injuries resulting from the bombing; the Immediate Family Plaintiffs

claim damages for “severe mental anguish and harm caused by the loss of [their loved ones’]




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 The Hammons Immediate Family Plaintiffs are Ashley Babbitt; Christi Babbitt; Lee Babbitt III;
M.A.B.; M.L.B.; O.R.B.; Sylvia Babbitt; Adele Buytenhuys; Cameron Buytenhuys; Clinton
Buytenhuys; Darroll Buytenhuys; E.B.; Sheldon Buytenhuys; Nicola Cubie; Tashia Evans;
Andria Harris; Jennifer Hernandez; Rhett Money; A.L.N.; Miranda Nadeau; Robert Nadeau, Sr.;
Erica Pleiman; Haley Schweickert; Jenna Schweickert; Taylor-Rae Simon; Alysandra Smith;
Annie Smith; Bianca Smith; Dale Smith, Sr.; Gabrielle Smith; and I.M.S. Dkt. 1. The
Complaint also lists two other plaintiffs who later voluntarily dismissed their claims. See Dkts.
15 and 20.
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society and comfort” as a result of the attack. Id. at 17-33. The Hammons Plaintiffs seek to

recover these damages not from the Taliban, but from Iran, which, the Hammons Plaintiffs

allege, has long supplied the Taliban with explosive materials, financial support, safe harbor, and

training. Id. at 7-16. The Hammons Plaintiffs contend that this support strips Iran of its

sovereign immunity under the FSIA’s state-sponsored terrorism exception. See 28 U.S.C.

§ 1605A(a). Each Hammons Plaintiff is a U.S. citizen, and each relies on the FSIA’s cause of

action. Dkt. 1 at 17-33; Dkt. 28 at 37; see 28 U.S.C. § 1605A(c).

       The Hammons Plaintiffs effected service on Iran on February 12, 2020. Dkt. 14. After

Iran failed to respond to the Complaint, the Clerk of Court, at the Hammons Plaintiffs’ request,

entered default against Iran on April 14, 2020. Dkts. 16 and 17. The Hammons Plaintiffs then

moved for default judgment as to liability against Iran. Dkt. 18. The Court referred the motion

to Judge Meriweather on July 16, 2020. Minute Order of July 16, 2020.

       On March 8, 2021, Judge Meriweather ordered the Hammons Plaintiffs to submit

supplemental briefing on several topics. Minute Order of March 8, 2021. As relevant here,

Judge Meriweather observed that “the record contains no declarations or other evidence

describing the nature of any injuries or other harms that Immediate Family . . . Plaintiffs

allegedly have suffered,” and “directed [the Hammons Plaintiffs] to include with their

supplemental [briefing] affidavits or similar evidentiary support to more fully describe the nature

of any injuries on which their claims are based.” Id. The Hammons Plaintiffs submitted their

supplemental briefing on April 8, 2021. Dkt. 22.

       Immediate Family Plaintiffs James Duncan and Noree Kamkongkaeo filed the second of

these consolidated cases on April 22, 2020. Case No. 1:20-cv-01058 (ACR), Dkt. 1. Their

Complaint generally raises the same factual and legal theories as the Hammons Complaint. See



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id. Presumably because Kamkongkaeo, unlike the other Plaintiffs, is not a U.S. citizen, the

Complaint includes a state-law claim for intentional infliction of emotional distress, in addition

to a claim under the FSIA’s federal cause of action. Id. at 12-15; Dkt. 28 at 37 (noting that,

while Duncan is a U.S. citizen, Kamkongkaeo is not). Duncan and Kamkongkaeo effected

service on Iran on October 27, 2020, Case No. 1:20-cv-01058 (ACR), Dkt. 12, and, after Iran

failed to timely respond, the Clerk of Court entered default against Iran on January 10, 2021,

Case No. 1:20-cv-01058 (ACR), Dkt. 14. On November 10, 2021, on Duncan and

Kamkongkaeo’s motion, the Court consolidated their case with Hammons and referred it to

Judge Meriweather. Case No. 1:20-cv-01058 (ACR), Dkts. 15 and 16. Duncan and

Kamkongkaeo then moved for default judgment as to liability. Dkt. 23.

        On July 24, 2023, Judge Meriweather issued a Report and Recommendation addressing

the default judgment motions. Dkt. 28. Judge Meriweather first concluded that Plaintiffs have

established that the Court has subject matter jurisdiction over this case under the FSIA. See id. at

17-33. Among other things, the Camp Sullivan attack qualifies as an act of terrorism covered by

the Act, and Plaintiffs’ expert evidence shows that Iran’s material support for the Taliban was a

proximate cause of the bombing. See id. Judge Meriweather also determined that the Court has

personal jurisdiction over Iran. Id. at 33-36. No party has objected to those conclusions.

        Judge Meriweather then turned to evaluating Iran’s liability. See id. at 36-60. She first

addressed the claims brought by U.S. citizens Plaintiffs—that is, all but Kamkongkaeo—under

the federal cause of action created by the FSIA. See id. at 36. Judge Meriweather acknowledged

a split of authority on whether plaintiffs satisfy the elements of the FSIA’s cause of action

whenever they meet the Act’s jurisdictional requirements or whether plaintiffs “must further

prove a theory of liability” based on principles of “civil tort liability” to recover. Id. at 38



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(quoting Barry v. Islamic Republic of Iran, 410 F. Supp. 3d 161, 176 (D.D.C. 2019)). Compare,

e.g., Heching v. Syrian Arab Republic, Nos. 17-cv-1192 and 17-cv-1659, 2023 WL 2384393, at

*5 (D.D.C. Mar. 5, 2023) (“[L]iability under [the FSIA’s federal cause of action] exists

whenever the [Act’s] jurisdictional requirements . . . are met.”), with Barry, 410 F. Supp. 3d at

176 (requiring additional proof of liability). She concluded that the second approach is more

persuasive. Dkt. 28 at 38. That conclusion has elicited no objections.

       Applying that framework, Judge Meriweather observed that Plaintiffs Jennifer and

Robert Hernandez have failed to identify a theory of tort liability supporting their claims, and so

recommended denying the default judgment motions without prejudice with respect to them. Id.

at 39. Judge Meriweather also concluded that the Camp Sullivan Resident Plaintiffs, other than

Robert Hernandez, have established their right to relief under theories of assault, battery, and

intentional infliction of emotional distress, and recommended granting the default judgment

motions with respect to those Plaintiffs. Id. at 39-43. No party objects to those

recommendations.

       Judge Meriweather next considered the claims brought by the U.S. citizen Immediate

Family Plaintiffs. Id. at 43-50. She explained that these Plaintiffs rely on a “theory of solatium,”

a type of claim much like intentional infliction of emotional distress that requires, among other

elements, a showing that the claimant suffered “severe” “emotional distress.” Id. at 43, 46

(quoting Restatement (Second) of Torts § 46(j)). Judge Meriweather determined that nine

Immediate Family Plaintiffs—Adele Buytenhuys, James Duncan, Tashia Evans, Andria Harris,

Rhett Money, Alysandra Smith, Annie Smith, Gabrielle Smith, and I.M.S.—have proven that

they satisfy the elements of a solatium claim, including through evidence of severe emotional

distress arising from the attack. Id. at 43-48. But she also concluded that twenty-two Immediate



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Family Plaintiffs—Ashley Babbitt; Christi Babbitt; Lee Babbitt III; M.A.B.; M.L.B.; O.R.B.;

Sylvia Babbitt; Cameron Buytenhuys; Clinton Buytenhuys; Darroll Buytenhuys; E.B.; Sheldon

Buytenhuys; Nicola Cubie; A.L.N.; Miranda Nadeau; Robert Nadeau, Sr.; Erica Pleiman; Haley

Schweickert; Jenna Schweickert; Taylor-Rae Simon; Bianca Smith; and Dale Smith, Sr.—have

not shown that they suffered severe emotional distress because of the attack, and so

recommended denying the default judgment motions without prejudice with respect to their

claims. Id. at 48-50. Plaintiffs have objected to this latter recommendation. Dkt. 30.

       Finally, Judge Meriweather addressed Kamkongkaeo’s claim. See Dkt. 28 at 50-58.

Because Kamkongkaeo is not a U.S. national or otherwise eligible to invoke the FSIA’s cause of

action, see 28 U.S.C. § 1605A(c), Judge Meriweather analyzed the claim as one for intentional

infliction of emotional distress under D.C. tort law. See Owens, 924 F.3d at 1258 (explaining

that non-U.S. national plaintiffs can pursue state-law causes of action using FSIA’s sovereign

immunity waiver); Dkt. 28 at 50-54. Judge Meriweather reasoned that one element of such a

claim is proof that the claimant suffered “severe emotional distress,” and concluded that

Kamkongkaeo has not offered sufficient evidence to prove this element. Dkt. 28 at 55, 58

(quoting Republic of Sudan v. Owens, 194 A.3d 38, 41 (D.C. 2018)). Judge Meriweather

therefore recommended denying the default judgment motion without prejudice with respect to

Kamkongkaeo’s claim. Id. at 58. Plaintiffs object to this conclusion.4 Dkt. 30.




4
  Plaintiffs did not include Kamkongkaeo in their list of Plaintiffs covered by their Objection.
See Dkt. 30 at 3-4. But the Objection requests that the Court “decline to accept the findings of
the [Report and Recommendation] as to the twenty-three individual Plaintiffs whose claims were
denied based on insufficient damages evidence,” Dkt. 30 at 7, a group that includes
Kamkongkaeo. The Court therefore assumes that Plaintiffs object to Judge Meriweather’s
recommendation as to Kamkongkaeo.
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        On August 4, 2023, Plaintiffs objected to the Report and Recommendation insofar as it

recommended denying the default judgment motions with respect to Immediate Family Plaintiffs

Ashley Babbitt; Christi Babbitt; Lee Babbitt III; M.A.B.; M.L.B.; O.R.B.; Sylvia Babbitt;

Cameron Buytenhuys; Clinton Buytenhuys; Darroll Buytenhuys; E.B.; Sheldon Buytenhuys;

Nicola Cubie; Noree Kamkongkaeo; A.L.N.; Miranda Nadeau; Robert Nadeau, Sr.; Erica

Pleiman; Haley Schweickert; Jenna Schweickert; Taylor-Rae Simon; Bianca Smith; and Dale

Smith, Sr. (collectively, the “nonprevailing Plaintiffs”) for failure to prove severe emotional

distress. Id. Plaintiffs note that their Objection does not apply to the Hernandezes. Id. at 1 n.1.

Iran has not objected to any aspect of the Report and Recommendation.

                                      II. LEGAL STANDARD

        The Court reviews “only those issues that the parties have raised in their objections to the

Magistrate Judge’s report.” Taylor v. District of Columbia, 205 F. Supp. 3d 75, 79 (D.D.C.

2016) (quoting Aikens v. Shalala, 956 F. Supp. 14, 19 (D.D.C. 1997)). The Court reviews de

novo those portions of the Report and Recommendation that drew objections. See 28 U.S.C.

§ 636(b)(1); Fed. R. Civ. P. 72(b)(3).

        The FSIA specifies that “[n]o judgment by default shall be entered by a court of the

United States . . . against a foreign state . . . unless the claimant establishes his claim or right to

relief by evidence satisfactory to the court.” 28 U.S.C. § 1608(e). Although this standard

“leaves it to the court to determine precisely how much and what kinds of evidence the plaintiff

must provide,” Han Kim v. Democratic People’s Republic of Korea, 774 F.3d 1044, 1047 (D.C.

Cir. 2014), it still gives courts “a duty to scrutinize the plaintiff’s allegations, and . . . not

unquestioningly accept a complaint’s unsupported allegations as true,” Reed v. Islamic Republic

of Iran, 845 F. Supp. 2d 204, 211 (D.D.C. 2012).



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                                          III. ANALYSIS

       The Court adopts the unobjected-to portions of Judge Meriweather’s Report and

Recommendation, see Taylor, 205 F. Supp. 3d at 79, including its conclusions that the Court has

both subject matter jurisdiction over this case and personal jurisdiction over Iran; that the Camp

Sullivan Resident Plaintiffs, other than Robert Hernandez, as well as Immediate Family Plaintiffs

Adele Buytenhuys, James Duncan, Tashia Evans, Andria Harris, Rhett Money, Alysandra Smith,

Annie Smith, Gabrielle Smith, and I.M.S., are entitled to default judgment as to liability; and that

Jennifer and Robert Hernandez have not established their entitlement to relief. See Dkt. 28.

       The only challenge to the Report and Recommendation is Plaintiffs’ Objection, which

contends that the Court may grant default judgment as to liability with respect to the

nonprevailing Plaintiffs, who Judge Meriweather concluded offered inadequate proof of severe

emotional distress. Dkt. 30. Plaintiffs argue that the fact that Judge Meriweather recommended

granting the default judgment motions with respect to some Immediate Family Plaintiffs

“suffic[es] to show that [the nonprevailing P]laintiffs have a valid theory of recovery,” id. at 6

(quoting Worley v. Islamic Republic of Iran, 75 F. Supp. 3d 311, 337 (D.D.C. 2014)), such that

the Court may presume that Iran is liable to the nonprevailing Plaintiffs, enter default judgment

as to liability, and refer the matter to a special master to assess damages. Id. at 6-7. Plaintiffs

maintain that the Court can then vacate the judgment of liability as to particular Plaintiffs if

proceedings before the special master show that those Plaintiffs have not actually suffered any

damages.5 Id.



5
  Plaintiffs also cite in passing a district court decision stating that courts “may presume that
those in direct lineal relationships with victims of incidents of terrorism suffer compensable
mental anguish.” Dkt. 30 at 4 (quoting Dkt. 28 at 46); Est. of Hirshfeld v. Islamic Republic of
Iran, 330 F. Supp. 3d 107, 141 (D.D.C. 2018). The Objection does not develop any distinct
argument based on this case law, and, if Plaintiffs rely on this language, the Court declines to
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       Plaintiffs cite no binding authority adopting or approving this approach, and a

presumption of liability based on evidence relevant to other Plaintiffs is in tension with the

FSIA’s requirement that courts not grant any “judgment by default . . . unless the claimant

establishes his claim or right to relief by evidence satisfactory to the court.” 28 U.S.C. § 1608(e)

(emphasis added); see Dkt. 30 at 5-6 (relying exclusively on district court decisions). But the

Court need not decide whether such a presumption is permissible. Plaintiffs do not argue that it

is mandatory—only that the Court “may” employ it. Dkt. 30 at 5. The Objection expressly

concedes that the Court has the “unequivocal right to request additional damages evidence in the

manner recommended by the [Report and Recommendation].” Id. at 4.

       Given that concession, even assuming the Court could issue a conditional judgment of

liability in the manner proposed by Plaintiffs, the Court declines to do so here. Judge

Meriweather alerted Plaintiffs to the absence of “evidence describing the nature of any injuries or

other harms that Immediate Family . . . Plaintiffs allegedly have suffered,” and ordered Plaintiffs

to submit “affidavits or similar evidentiary support to more fully describe the nature of any

injuries on which their claims are based.”6 Minute Order of March 8, 2021. The nonprevailing

Plaintiffs failed to respond adequately to this Order and have given no persuasive reason why the

Court should excuse that failure.

       Absent a presumption, the nonprevailing Plaintiffs have not “establishe[d their] claim or

right to relief.” 28 U.S.C. § 1608(e). Plaintiffs do not dispute that proof of severe emotional



apply this presumption for the same reasons as it rejects a presumption based on other Plaintiffs’
evidence.
6
 Judge Meriweather issued this Order before the cases were consolidated, and thus before
Kamkongkaeo’s claim was formally before her. But the Order remained on the docket and
sufficed to place Kamkongkaeo, who is represented by the same counsel as the other Plaintiffs,
on notice of the need to present evidence of severe emotional distress.
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distress is essential to the nonprevailing Plaintiffs’ claims. See Dkt. 28 at 46-47, 55, 58

(reasoning that solatium and intentional infliction of emotional distress claims require proof of

severe emotional distress); Dkt. 30 (not objecting to this conclusion). And the Court agrees with

Judge Meriweather that, for the reasons given in the Report and Recommendation, the current

record does not establish that the nonprevailing Plaintiffs suffered severe emotional distress. For

example, the evidence about Immediate Family Plaintiffs Cameron Buytenhuys and E.B., the

sons of Camp Sullivan Plaintiff Ryan Buytenhuys, consists of their father’s statement in an

affidavit that his PTSD following the attack “led to serious challenges with [his] family

relationships,” including by causing him to “drift apart” from his sons. Dkt. 22-4 at 2-3. As

Judge Meriweather explained, that evidence may be consistent with the sons’ experiencing

severe emotional distress, but it does not prove as much. Dkt. 28 at 49. Plaintiffs do not

meaningfully contest this conclusion; indeed, the Objection cites no evidence and describes the

existing record as “limited.” Dkt. 30 at 4. The Court therefore overrules the Objection and

denies Plaintiffs’ motions with respect to the claims by the nonprevailing Plaintiffs. This denial

is without prejudice to a renewed motion supported by adequate evidence.

                               IV. CONCLUSION AND ORDER

       For these reasons, the Court overrules Plaintiffs’ Objection and adopts the Report and

Recommendation in full. Plaintiffs’ motions sought default judgments only as to liability, with

the exact amount of damages to be determined by a special master, as authorized by the FSIA.

See 28 U.S.C. § 1605A(e)(1) (“The courts of the United States may appoint special masters to

hear damage claims brought under [the FSIA].”); Dkt. 19 at 18-19. Consistent with that

proposal, the Court will appoint a special master to take evidence and file a report and




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recommendation regarding the amount of individual damages for which Defendant is liable to

each prevailing Plaintiff.

       It is therefore

       ORDERED that Plaintiffs’ Motions for Default Judgment, Dkts. 18 and 23, are

GRANTED IN PART and DENIED IN PART. The Court GRANTS default judgment as to

liability against Defendant on the claims brought by Andrew Babbitt; Bradley Busby; Adele

Buytenhuys; Ryan Buytenhuys; Allen Cox; James Duncan; David Evans; Tashia Evans; Ryan

Hammons; Andria Harris; William Harris; Brandon Jones; Aaron Money; Rhett Money; Robert

Nadeau II; Derek Pleiman; Alysandra Smith; Annie Smith; Dale Smith, Jr.; Gabrielle Smith; and

I.M.S. The Court DENIES the Motions without prejudice with respect to the claims brought by

Ashley Babbitt; Christi Babbitt; Lee Babbitt III; M.A.B.; M.L.B.; O.R.B.; Sylvia Babbitt;

Cameron Buytenhuys; Clinton Buytenhuys; Darroll Buytenhuys; E.B.; Sheldon Buytenhuys;

Nicola Cubie; Jennifer Hernandez; Robert Hernandez; Noree Kamkongkaeo; A.L.N.; Miranda

Nadeau; Robert Nadeau, Sr.; Erica Pleiman; Haley Schweickert; Jenna Schweickert; Taylor-Rae

Simon; Bianca Smith; and Dale Smith, Sr. It is further

       ORDERED that Plaintiffs shall, within thirty days, propose by motion at least two

candidates to serve as a special master to calculate damages for those Plaintiffs with respect to

whom the Motions are granted. Plaintiffs must include with their motion (1) affidavits from the

candidates “disclosing whether there is any ground for [their] disqualification under 28 U.S.C.

§ 455,” Fed. R. Civ. P. 53(b)(3)(A); (2) the candidates’ curricula vitae; and (3) a proposed

appointing order that satisfies the requirements of Federal Rule of Civil Procedure 53(b).




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      SO ORDERED.




Dated: September 25, 2023           ANA C. REYES
                                    United States District Judge




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